       Case 1:20-cv-04394-JPC-RWL Document 343 Filed 10/19/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                 10/19/2020
---------------------------------------------------------------X
VEROBLUE FARMS USA INC,                                        :   20-CV-4394 (PGG) (RWL)
                                                               :
                                    Plaintiff,                 :   ORDER
                                                               :
                  - against -                                  :
                                                               :
CANACCORD GENUITY LLC,                                         :
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        This Order resolves the issues raised by the parties in Dkt. 336 (with 338, 341,

342) and Dkt. 337 (with 339):

        Discovery: Defendant Canaccord has requested a stay of discovery pending

resolution of its soon-to-be-filed motion to dismiss. At least one or more of Canaccord’s

bases for dismissal appear to have merit. At the same time, Canaccord successfully

opposed enforcement of the subpoena on it as a third-party to the Texas action on the

basis that Canaccord is a party to the instant action. It would be inequitable for Canaccord

to now leverage that success by putting off discovery here on the grounds that the

complaint against it should be dismissed. In light of these and other considerations

(claimed burdens, prejudice, et al.), the Court orders as follows. Canaccord shall have

the choice of which of the two alternatives proposed by VBF it prefers to do: either (1)

Proceed with party discovery in this action (along with staying non-party discovery

pending determination of the motion to dismiss, maintaining the existing scheduling order,

and cooperating with Plaintiff to avoid duplicative discovery in the Texas action), or (2)

Stay all discovery in the instant action pending determination of the motion to dismiss,




                                                        1
     Case 1:20-cv-04394-JPC-RWL Document 343 Filed 10/19/20 Page 2 of 2




while permitting VBF (and the Founders) to take non-party discovery of Canaccord in the

Texas action. Canaccord shall advise VBF and the Court of its choice in writing by

October 22, 2020.

         Motion to Dismiss Briefing: Canaccord’s response to the Fourth Amended

Complaint (“FAC”) shall proceed on the following schedule.

         -    October 30, 2020: Canaccord’s response or motion to dismiss;

         -    November 20, 2020: VBF’s opposition.

         -    December 4, 2020: Canaccord’s reply.

         Motion for Sanctions: Canaccord and VBF disagree about the schedule for

briefing Canaccord’s motion for sanctions in connection with VBF’s filing of the Third

Amended Complaint (“TAC”), which was served on VBF on August 21, 2020. The Court

finds that any motion for sanctions should be considered in tandem with Canaccord’s

motion to dismiss the FAC. Accordingly, Canaccord’s sanctions motion shall be briefed

on the same schedule as the briefing on dismissal of the FAC.

                                        SO ORDERED.



                                        _________________________________
                                        ROBERT W. LEHRBURGER
                                        UNITED STATES MAGISTRATE JUDGE

Dated:        October 19, 2020
              New York, New York


Copies transmitted to counsel of record via-ECF.




                                          2
